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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

LONE    STAR        TECHNOLOGICAL §
INNOVATIONS, LLC,                 §
                                  §                 CIVIL ACTION NO. 6:19-CV-00059-RWS
          Plaintiff,              §
                                  §                                 LEAD CASE
v.                                §
                                  §
ASUSTEK COMPUTER INC.,            §
                                  §
          Defendant.              §

                                            ORDER

       Before the Court is the parties’ Joint Notice of Technical Advisor. Docket No. 83.

Defendants do not believe a technical advisor is necessary. Id. Given issues presented, however,

this Court finds good cause to appoint a technical advisor. Accordingly, the Court APPOINTS

Scott Woloson as technical advisor with his costs to be assessed equally between Plaintiff and
    .
Defendants and timely paid as billed.

       The parties are ORDERED to send courtesy copies of claim construction briefs, exhibits,

and technology tutorials no later than one business day after the date of this Order or as they

become available: (1) in PDF form to scott@scottwolosonlaw.com; and (2) in paper form, double-

sided, either spiral-bound or in a 3-ring binder, with tabbed exhibits to the Law Office of Scott

Woloson, P.C., 1431 Wirt Road #141, Houston, TX 77055. If the document was filed with the

Court, the copy must include the CM/ECF header.

       So ORDERED and SIGNED this 6th day of May, 2020.




                                                         ____________________________________
                                                         ROBERT W. SCHROEDER III
                                                         UNITED STATES DISTRICT JUDGE
